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                      UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF TENNESSEE
                   WESTERN DIVISION


BERNICE NEWMAN                                  JUDGMENT IN A CIVIL CASE

v.

DEUTSCHE BANK NATIONAL TRUST                    CASE NO: 11-2765-A
COMPANY, F/K/A BANKERS TRUST
COMPANY OF CALIFORNIA, N.A.,AS
TRUSTEE FOR THE BENEFIT OF THE
CERTIFICATE HOLDERS OF THE
AAMES MORTGAGE TRUST, MORTGAGE
PASS THROUGH CERTIFICATES,
SERIES 2001-1; BANK OF AMERICA, N.A.;
NATIONWIDE TRUSTEE SERVICES, INC.,
and WILSON & ASSOCIATES, P.L.L.C.




DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed
Order Rescinding Trustee’s Sale And Setting Aside Trustee’s Deed;
Reviving And Reinstating The Original Deed Of Trust And Dismissal
Of Case With Prejudice entered on June 13, 2013, this cause is
hereby dismissed with prejudice.




APPROVED:


s/ S. Thomas Anderson
UNITED STATES DISTRICT COURT

DATE: 7/18/2013                               THOMAS M. GOULD
                                         Clerk of Court


                                                s/Terry L. Haley
                                         (By)    Deputy Clerk
